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   IT IS ORDERED as set forth below:



   Date: April 6, 2021
                                                     _________________________________

                                                                Sage M. Sigler
                                                         U.S. Bankruptcy Court Judge

  ________________________________________________________________




                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                    §      CHAPTER 7
                                          §
AMERICAN UNDERWRITING                     §      Case No. 18-58406-SMS
SERVICES, LLC,                            §
                                          §
       Debtor.                            §

         STIPULATION AND CONSENT ORDER REGARDING UNSECURED
                 CLAIMS ASSERTED BY CHUBB COMPANIES

       This Stipulation and Consent Order (the “Stipulation”) is entered into between S.

Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of

American Underwriting Services, LLC, Debtor (the “Debtor”) in the above captioned case (the

“Bankruptcy Case”) and ACE American Insurance Company, ACE Fire Underwriters Insurance

Company, ACE Property and Casualty Insurance Company, Bankers Standard Insurance

Company, Chubb Custom Insurance Company, Chubb Indemnity Insurance Company, Chubb
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National Insurance Company, Executive Risk Indemnity Inc., Executive Risk Specialty

Insurance Company, Federal Insurance Company, Great Northern Insurance Company,

Indemnity Insurance Company of North America, Illinois Union Insurance Company, Insurance

Company of North America, Pacific Employers Insurance Company, Pacific Indemnity

Company, Vigilant Insurance Company, Westchester Fire Insurance Company, and Westchester

Surplus Lines Insurance Company (collectively, the “Chubb Companies” and with the Trustee,

the “Parties”) by and through their undersigned counsel.

        A.       Each of the Chubb Companies timely filed a proof of claim asserting a claim in

the amount of $126,629.44 against the Debtor for premiums not remitted under a certain

producer agreement as more particularly described therein, and such claims are currently set

forth in the claims register as claim nos. 25-43 (collectively, the “Chubb Claims”).

        B.       Upon review of the Chubb Claims, the Trustee determined that each of the

nineteen (19) Chubb Claims assert the same liquidated claim against the Debtor. 1

        C.       For administrative convenience only, the Parties agree to stipulate that: 1) the

Chubb Claims shall be consolidated into claim no. 25 in the amount of $126,629.44; and 2)

claim nos. 26 through 43 shall be deemed withdrawn.

        NOW, THEREFORE, the Parties hereby STIPULATE and AGREE, and it is hereby

ORDERED, ADJUDGED, and DECREED that:

        1.       for good cause shown, without the necessity of further notice or opportunity for a

hearing thereon, the terms and agreements contained in the Stipulation are approved;




1
          Each of the Chubb Claims specifically provides that the liquidated amount of each claim “is an aggregate
of the amounts owed to all of the Chubb Companies, collectively” and that “[t]he Chubb Companies do not expect
that the Liquidated Claim amount will be paid in the aggregate to each of the Chubb Companies.” Each Chubb
Claim at ¶ 2.
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       2.     upon Court approval of this Stipulation, for administrative convenience only, and

without prejudice to the Chubb Companies’ right to assert a claim for any Chubb Company

against the Debtor, the Chubb Claims filed by ACE American Insurance Company, ACE Fire

Underwriters Insurance Company, ACE Property and Casualty Insurance Company, Bankers

Standard Insurance Company, Chubb Custom Insurance Company, Chubb Indemnity Insurance

Company, Chubb National Insurance Company, Executive Risk Indemnity Inc., Executive Risk

Specialty Insurance Company, Federal Insurance Company, Great Northern Insurance Company,

Indemnity Insurance Company of North America, Illinois Union Insurance Company, Insurance

Company of North America, Pacific Employers Insurance Company, Pacific Indemnity

Company, Vigilant Insurance Company, Westchester Fire Insurance Company, and Westchester

Surplus Lines Insurance Company are deemed consolidated into claim no. 25 in the amount of

$126,629.44 (the “Surviving Claim”);

       3.     upon Court approval of this Stipulation and without prejudice to the Chubb

Companies’ right to assert a claim for any Chubb Company against the Debtor, the Surviving

Claim shall be asserted by ACE American Insurance Company on behalf of itself and any other

Chubb Companies or their affiliates;

       4.     for administrative convenience only, the Debtor and the Chubb Companies agree

that upon Court approval of this Stipulation, claim nos. 26 through 43 shall be deemed

withdrawn;

       5.     neither the Debtor nor the Trustee, or any other party in interest shall seek to have

the Surviving Claim disallowed, reduced, or expunged solely on the basis that the Surviving

Claim is asserted by ACE American Insurance Company on behalf of itself and any other Chubb

Companies or their affiliates, rather than directly by any of the other Chubb Companies;
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       6.      the Chubb Companies shall have the right to amend the Surviving Claim, at any

time, as provided in this Stipulation, and any such amendment shall not be subject to any bar

date for filing claims; and

       7.      the terms of this Stipulation imposed upon the Parties are hereby ordered and

entered by this Court.

       Consented and agreed to by the Parties, this 1st day of April, 2021.

       LAW OFFICES OF HENRY F. SEWELL JR., LLC

       By:     /s/ Henry F. Sewell, Jr.
               Henry F. Sewell, Jr., Esq.
               Georgia Bar No. 636265

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       COUNSEL FOR THE CHAPTER 7 TRUSTEE


       DUANE MORRIS LLP

       By:     /s/ Kenneth B. Franklin (signed with express permission)
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       and

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       COUNSEL FOR ACE AMERICAN INSURANCE COMPANY, ACE FIRE
       UNDERWRITERS INSURANCE COMPANY, ACE PROPERTY AND CASUALTY
       INSURANCE COMPANY, BANKERS STANDARD INSURANCE COMPANY,
       CHUBB CUSTOM INSURANCE COMPANY, CHUBB INDEMNITY INSURANCE
       COMPANY, CHUBB NATIONAL INSURANCE COMPANY, EXECUTIVE RISK
       INDEMNITY INC., EXECUTIVE RISK SPECIALTY INSURANCE COMPANY,
       FEDERAL INSURANCE COMPANY, GREAT NORTHERN INSURANCE
       COMPANY, INDEMNITY INSURANCE COMPANY OF NORTH AMERICA,
       ILLINOIS UNION INSURANCE COMPANY, INSURANCE COMPANY OF NORTH
       AMERICA, PACIFIC EMPLOYERS INSURANCE COMPANY, PACIFIC
       INDEMNITY COMPANY, VIGILANT INSURANCE COMPANY, WESTCHESTER
       FIRE INSURANCE COMPANY, AND WESTCHESTER SURPLUS LINES
       INSURANCE COMPANY


Identification of parties to be served:

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Chubb f/k/a ACE, 436 Walnut Street, Philadelphia, PA 19106, Attention: Joy Bernstein, Senior
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